Case 1:16-cv-25052-JEM Document 84 Entered on FLSD Docket 08/22/2018 Page 1 of 7



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       Miami Division



  ______________________________________
  Horacio Sequeira,                      )                             Case No. 1:16-cv-25052-JEM
                                         )
                          Plaintiff,     )
                                         )
                 v.                      )
                                         )
  Republic of Nicaragua, City of         )
  Chinandega, Eduardo Jose Callejas      )
  Callejas, and Estrellita del Carmen    )
  Troz Martinez,                         )
                                         )
                          Defendants.    )

   DEFENDANT EDUARDO JOSE CALLEJAS CALLEJAS’ MOTION IN OPPOSITION
                     TO PLAINTIFF’S COMPLAINT

         Defendant Eduardo Jose Callejas Callejas (“Defendant Callejas”) by and through the

  undersigned attorney and pursuant to Fed. R. Civ. P. 12(b)(6), hereby files its Motion to Dismiss

  Plaintiff’s First Amended Complaint for Damages [DE 79] and states:

                                          INTRODUCTION

         Plaintiff’s First Amended Complaint continues to be: (i) incoherent in regard to the facts

  at issue; and (ii) void of valid causes of action against Defendant Callejas. The lawsuit pertains to

  real property (“El Pital”) and personal property that was allegedly taken from Plaintiff on two (2)

  separate dates.   Specifically, the Complaint alleges that all the Defendants took unlawful

  ownership of El Pital and personal property in January 2008. The Complaint also alleges that

  Defendant Callejas breached a 2008 lease agreement for El Pital in December 2008. However, the

  2008 lease agreement does not exist, and it was not attached to the Amended Complaint. Moreover,
Case 1:16-cv-25052-JEM Document 84 Entered on FLSD Docket 08/22/2018 Page 2 of 7



  regardless of which of the two (2) dates these alleged occurrences took place, all causes of action

  against Defendant Callejas are statutorily time barred.

                                                  FACTS

          1.      Plaintiff’s original Complaint was filed on December 6, 2016. [DE 1].

          2.      Plaintiff’s Amended Complaint was filed on August 8, 2018. [DE 79]. The real

  property at issue (“El Pital”) is located in Nicaragua. [DE 79 ¶ 12].

          3.      Plaintiff claims he owns “99.5%” of El Pital and his son owns “5%” of El Pital.

  [DE 79 ¶ 14]. However, Callejas has owned the property since 2005.

          4.      The crux of the Amended Complaint is that: (i) Defendant Callejas breached a 2008

  lease agreement in December 2008; and (ii) that all the Defendants took illegal possession of El

  Pital and the personal property in January 2008 [Id. at ¶¶ 82, 122]. All causes of action against

  Defendant Callejas stem from these two (2) alleged events.

          5.      No lease agreement was signed, and no such agreement is attached to the First

  Amended Complaint.

                                      MEMORANDUM OF LAW

          Dismissal for failure to state a claim is warranted “when it appears that the plaintiff has

  little or no chance of success, i.e., when the complaint on its face makes clearly baseless allegations

  or relies on legal theories that are indisputably meritless.” Aruanno v. Martin County Sheriff, 343

  F. App’x 535, 536 (11th Cir. 2009); see also Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007);

  Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949–50 (2009). Under Twombly and Iqbal, a complaint must

  contain sufficient factual matter, accepted as true, to “state a claim to relief that is plausible on its

  face.” Id.
Case 1:16-cv-25052-JEM Document 84 Entered on FLSD Docket 08/22/2018 Page 3 of 7



  I.      All Ten (10) Counts of the Complaint are barred by Florida’s Statute of Limitations.

          It is axiomatic that a federal court sitting in diversity must apply state substantive law and

  federal procedural law. Walker v. Armco Steel Corp., 446 U.S. 740, 745, 100 S.Ct. 1978, 64

  L.Ed.2d 659 (1980); see also Erie R. Co. v. Tompkins, 304 U.S. 64, 78, 58 S.Ct. 817, 82 L.Ed. 2

  1188 (1938). Florida’s statute of limitations bar all of Plaintiff’s causes of actions, including those

  that are otherwise legally defective or not recognized under Florida law, as further discussed infra.

       A. Count 4 – Breach of Contract

          Plaintiff claims Defendant Callejas breached a non-existent lease agreement in December

  2008. [DE 79, at ¶ 122]. Even if such a contract existed and was attached to the Amended

  Complaint, this cause of action is barred by Fla. Stat. § 95.11(2)(b), which requires such a cause

  of action to be brought within five (5) years.

       B. Count 5 – Brach of Implied Covenant of Good Faith and Fair Dealing

          “A breach of the implied covenant of good faith and fair dealing is not an independent

  cause of action, but attaches to the performance of a specific contractual obligation.” Centurion

  Air Cargo, Inc. v. United Parcel Serv. Co., 420 F.3d 1146, 1151 (11th Cir.2005); see also McLean

  v. GMAC Mortg. Corp., No. 06-22795-CIV, 2008 WL 1956285, at *1 (S.D. Fla. May 2, 2008).

  Count 5 is a legal action on a contract, and it is time barred by Fla. Stat. § 95.11(b), which imposes

  a five (5) year statute of limitation for legal actions on a contract. § 95.11(b), Fla. Stat. (2016). As

  such, Count 5 must be dismissed with prejudice.

       C. Count 6 – Conversion

          Count 6 contains absolutely no allegations against Defendant Callejas to set forth a cause

  of action for conversion. In any event, this cause of action has a seven (7) year statute of limitation,

  as set forth in Fla. Stat. § 95.12, and the portion of Count 6 relating to the taking of personal
Case 1:16-cv-25052-JEM Document 84 Entered on FLSD Docket 08/22/2018 Page 4 of 7



  property is barred by the four (4) year statute of limitation set forth in Fla. Stat. §§ 95.11(3)(h),

  95.11(3)(i). As such, Count 6 must be dismissed with prejudice.

     D. Count 7 – Unjust Enrichment

         Count 7 alleges that Defendant Callejas unjustly benefited from the alleged taking of the

  property in January 2008. There is a four-year statute of limitations for an action for unjust

  enrichment. § 95.11, Fla. Stat. (2016); Merle Wood & Assocs. v. Trinity Yachts, LLC, 714 F.3d

  1234, 1237 (11th Cir. 2013). As such, Count 7 must be dismissed with prejudice.

     E. Count 8 - Trespass to Land

         Under Florida law, civil trespass is “an unauthorized entry onto another's property.”

  HControl Holdings, LLC v. Bright House Networks, LLC, No. 8:13-CV-39-T-EAJ, 2014 WL

  12573984, at *2 (M.D. Fla. July 22, 2014) (citing Jacobini v. JP Morgan Chase, N.A., No. 6:11-

  cv-231-Orl-31GJK, 2012 WL 252437 (M.D. Fla. Jan. 26, 2012) (quoting Pearson v. Ford Motor

  Co., 694 So.2d 61, 69 (Fla. 1st DCA 1997))). A cause of action for trespass is subject to a four (4)

  year statute of limitations. § 95.11(g), Fla. Stat. (2016). As such, Count 8 must be dismissed with

  prejudice.

     F. Count 9 - Trespass to Land

         Count 9 claims that 2008 taking of his personal property constitutes a trespass to chattels.

  Count 9 is a disguised action for taking, detaining, or injuring personal property, which has a four

  (4) year statute of limitations. § 95.11(h), Fla. Stat. (2016); see also Bloom v. Miami-Dade Cty.,

  No. 06-21879-CIV, 2010 WL 9499082, at *1 (S.D. Fla. Mar. 19, 2010), aff'd sub nom. Bloom v.

  Alvereze, 498 F. App'x 867 (11th Cir. 2012). As such, Count 9 must be dismissed with prejudice.
Case 1:16-cv-25052-JEM Document 84 Entered on FLSD Docket 08/22/2018 Page 5 of 7



     G. Count 10 - Intentional Interference with Prospected Economic Advantage and Business
        Relationship

         Under Florida law, a cause of action for tortious interference with business relationships

  has a statute of limitations of four (4) years. Fla. Stat. § 95.11(3)(p). MYD Marine Distributors,

  Inc. v. Donovan Marine, Inc., No. 07-61624-CIV, 2009 WL 701003, at *2 (S.D. Fla. Mar. 16,

  2009); see also § 95.11(3)(p), Fla. Stat. (2016). Count 10 is time barred and must be dismissed

  with prejudice.

     H. Count 11 - Negligent Interference with Prospected Economic Advantage and Business
        Relationship

         As discussed supra, a cause of action for tortious interference with business relationships

  has a statute of limitations of four (4) years. Fla. Stat. § 95.11(3)(p). MYD Marine Distributors,

  Inc. v. Donovan Marine, Inc., No. 07-61624-CIV, 2009 WL 701003, at *2 (S.D. Fla. Mar. 16,

  2009); see also § 95.11(3)(p), Fla. Stat. (2016). As such, Count 11 is barred and must be dismissed

  with prejudice.

     I. Count 12 and 13 – Intentional Infliction of Emotional Distress and Negligent Infliction of
        Emotional Distress

         The cause of action for intentional infliction of emotional distress is barred by the four (4)

  year statute of limitations set forth in Fla. Stat. § 95.11(o), pertaining to intentional torts. §

  95.11(o), Fla. Stat. (2016). The cause of action for negligent infliction of emotional distress is

  barred by the four (4) year statute of limitations set forth in Fla. Stat. § 95.11(3)(a), pertaining to

  negligence-based torts. § 95.11(3)(a), Fla. Stat. (2016). As such, Counts 12 and 13 must be

  dismissed with prejudice.


         Dated: August 22, 2018
Case 1:16-cv-25052-JEM Document 84 Entered on FLSD Docket 08/22/2018 Page 6 of 7



                                     Respectfully submitted,

                                     TINELLI FERNANDEZ, PLLC
                                     2222 Ponce de Leon Blvd., Suite 300
                                     Coral Gables, Florida 33134
                                     Telephone     (305) 735-3800
                                     Facsimile     (305) 370-6750

                                     By:    /s/ Gabriel J. Fernandez
                                            ANTHONY J. TINELLI
                                            Florida Bar Number 959901
                                            Tinelli@Tinellilaw.com
                                            Thompson@Tinellilaw.com
                                            GABRIEL J. FERNANDEZ
                                            Florida Bar Number 92374
                                            Fernandez@TinelliLaw.com
                                            Thompson@Tinellilaw.com
Case 1:16-cv-25052-JEM Document 84 Entered on FLSD Docket 08/22/2018 Page 7 of 7



                                     CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that, on this 22nd day of August, 2018, we electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. We also certify that foregoing

  document is being served this day on Plaintiff and all counsel of record, in the manner specified

  in the Service List below, either via transmission of Electronic Filing generated by CM/ECF or in

  some other authorized manner to those parties who are not authorized to receive electronic Notices

  of Electronic Filing

                                                      /s/ Gabriel J. Fernandez
                                                      Gabriel J. Fernandez, Esq.

                                           SERVICE LIST

  Horacio Sequeira
  13280 Port Said Road C301
  Opa-Locka, Florida 33054
  soyhoracios@hotmail.com
  centrolatinos@hotmail.com
  Pro Se Plaintiff

  Andrew Z. Schwartz (admitted pro hac vice)
  Foley Hoag, LLP
  Seaport World Trade Center West
  155 Seaport Blvd.
  Boston, MA 02210
  aschwartz@foleyhoag.com

  Brian M. Silverio
  Silverio & Hall
  150 West Flagler Street, PH 2850
  Miami, FL 33130
  bsilverio@silveriohall.com
